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                                         IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF DELA WARE

             LAURA O'SULLIVAN, et al.,                     )
                                                           )
                                Plaintiffs,                )
                                                           )       C.A. No. I :20-cv-00821-LFR
                     V.                                    )
                                                           )       JURY TR1AL DEMANDED
             NEW CASTLE COUNTY, et al.,                    )
                                                           )
                            Defendants.                    )
                                                           )

                                              STIPULATION OF DISMISSAL

                     Pursuant to Federal Rule of Civil Procedure 4 l(a)(I), Plaintiffs voluntarily dismiss their

             claims in this action against Defendants Matthew Meyer, Vaughn M. Bond, J., Vanessa S.

             Phillips, and Michael Hojnicki, in their individual capacity, with prejudice. The parties, through

             their undersigned counsel, further stipulate that each party is to bear its own costs, expenses and

             attorneys' fees.


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                                                                          & TAYLOR, LLP

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                                                                          Attorneys for Defendants New Castle
                                                                          County, Matthew Meyer, Vaughn M
                                                                          Bond, Jr., Vanessa S. Phillips, and
                                                                          Michael Hojnicki
         Dated: January 26, 2022

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                                             The Honorab L. Felipe Restrepo
                                             United States Circuit Court Judge




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